

Rodriguez v  City of New York (2021 NY Slip Op 06970)





Rodriguez v  City of New York


2021 NY Slip Op 06970


Decided on December 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2021

Before: Gische, J.P., Webber, Oing, Singh, Higgitt, JJ. 


Index No. 8078/05 Appeal No. 14863 Case No. 2021-00559 

[*1]Elsy Rodriguez, Plaintiff-Respondent,
vThe City of New York, et al., Defendants-Appellants.


Anna J. Ervolina, Brooklyn (Timothy J. O'Shaughnessy of counsel), for appellants.
Sonin &amp; Genis, LLC, Bronx (Robert J. Genis of counsel), for respondent.



Order, Supreme Court, Bronx County (Mitchell J. Danziger, J.), entered on or about December 18, 2020, which, to the extent appealed from as limited by the briefs, in granting defendants' motion to compel discovery on plaintiff's newly disclosed medical treatment, directed that the newly ordered independent medical examination (IME) be performed by the same orthopedist, Dr. Robert M. Israel, who had performed the earlier IME, unanimously reversed, on the facts and in the exercise of discretion, without costs, to delete the language directing that defendants have Dr. Israel perform the new IME.
Defendants should not have been directed to have Dr. Israel perform the IME in connection with plaintiff's newly disclosed medical treatment, as Dr. Israel's license had by then been permanently altered to preclude him from performing IMEs (compare Rebollo v Nicholas Cab. Corp., 125 AD3d 452 [1st Dept 2015] [the fact that the defendants' examining physician was placed on a three-year suspension after examining the plaintiff did not alone justify an additional examination by another physician; there was no allegation of new or additional injuries]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2021








